                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                             DOCKET NO. 3:05-CR-400-11-FDW


 UNITED STATES OF AMERICA                         )
                                                  )
         vs.                                      )
                                                  )                    ORDER
 JOSHUA GRIMES,                                   )
                                                  )
                Defendant.                        )
                                                  )

       THIS MATTER comes now before the Court on Defendant Grimes’ motion for discovery
(Doc. No.160) and motion to reconsider (Doc. No. 161). The Court STAYS the effect of its prior
Order (Doc. No. 151) and HOLDS the pending motions IN ABEYANCE pending a hearing, to be
held at 12:00 p.m. on Tuesday, October 23, 2007, in Courtroom No. 1 of the Charles R. Jonas
Federal Building, Charlotte, North Carolina. Counsel should be prepared to address the issue of the
existence of assets and should be prepared to make such disclosure and produce evidence and
records at the hearing. The Court is especially concerned with implied existence of assets (thorough
Defendant’s assertion of the Fifth Amendment) in light of Defendant’s sworn testimony at his
arraignment before Magistrate Judge Carl Horn III. When questioned by Magistrate Judge Horn,
Defendant testified under oath that he had: (1) no “money at all in this country or any other country
with which he could retain an attorney;” (2) no money in any bank account “at this point;” and (3)
did not own any real property or vehicles. (See Transcript of Arraignment Hearing, August 13,
2007). Defendant’s motion to reconsider appears inconsistent with Defendant’s testimony at his
arraignment. Accordingly, counsel should be prepared to address this issue.
       IT IS SO ORDERED.

                                                  Signed: October 15, 2007




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